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                               Exhibit 80



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                 UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF MASSACHUSETTS

                          MDL NO. 1456

               CIVIL ACTION NO. 01-CV-12257-PBS

                      Judge Patti B. Saris

              Magistrate Judge Marianne B. Bowler

     IN RE:   PHARMACEUTICAL INDUSTRY

     AVERAGE WHOLESALE PRICE LITIGATION

     ____________________________________

     THIS DOCUMENT RELATES TO:

     U.S. Ex rel. Ven-A-Care of the

     Florida Keys, Inc., v. Abbott

     Laboratories, Inc., et al.,

     No. 06-CV-11337-PBS

                         VOLUME II OF II

          VIDEOTAPE 30(B)(6) DEPOSITION OF PALMETTO

                      (ROBIN KREUSH STONE)

                    Friday, February 29, 2008

                       9:00 AM to 4:00 PM

                    Columbia, South Carolina

     Reported by:    Jane G. LaPorte

                     Merit and Professional Certifications




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                                                                             Page 331
  1
             A.        Should have.
  2
             Q.        Or should have?
  3
             A.        Yes.
  4
             Q.        Now, you have indicated, and we have
  5
        talked in great deal about the term average
  6
        wholesale price.
  7
                       What did you understand that term to
  8
        represent?
  9
                       MR. HENDERSON:          Objection to the form.
 10
             Q.        What did Palmetto understand that term to
 11
        represent?
 12
                       MR. HENDERSON:          Objection to the form.
 13
             Q.        Please answer.
 14
             A.        The average of the national wholesale
 15
        prices for a drug.
 16
             Q.        Well, you sort of defined it with the
 17
        term itself.
 18
             A.        Yes.
 19
             Q.        What did you mean by the average of the
 20
        national wholesale prices of the drug?
 21
                       MR. HENDERSON:          Objection -- same
 22
        objection.


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                                                                             Page 332
  1
              Q.       Okay.
  2
              A.       The manufacturer has a wholesale price
  3
        for a specific drug, and that is the average of
  4
        those wholesale prices.
  5
              Q.       And these are published in Red Books,
  6
        correct?
  7
              A.       Yes.
  8
              Q.       And it's your understanding that
  9
        manufacturers would tell the Red Book what to
 10
        publish for their AWPs, correct?
 11
              A.       Yes.
 12
              Q.       Now, prior to 1998, there was also an
 13
        alternative to AWP reimbursement, correct?
 14
              A.       Prior to --
 15
              Q.       -- 1998?
 16
              A.       There was --
 17
              Q.       -- an alternative to AWP reimbursement
 18
        called estimated acquisition cost, EAC?
 19
                       MR. HENDERSON:           Objection to the form.
 20
              A.       As far as I know, we have always used
 21
        average wholesale price.
 22
                       The estimated acquisition was always an

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                                                                             Page 429
  1          Q.       Now, it is very likely, is it not, that
  2     in 1998, you would have read that sentence -- or
  3     those two sentences that I just read to you when
  4     this was received by Palmetto, correct?
  5          A.       Yes.
  6          Q.       And you have known for decades, have you
  7     not, that AWP is not a true discounted price; and,
  8     therefore, does not reflect the cost to the
  9     physician or supplier furnishing the drug to the
 10     Medicare -- to the Medicare beneficiary; is that
 11     true?
 12                   MR. HENDERSON:          Objection.
 13          Q.       Go ahead.
 14          A.       I see the AWP is the average wholesale
 15     price; I don't know about --
 16          Q.       That's not my question.
 17                   MR. WALKER:         Objection.       Let the witness,
 18     please --
 19          Q.       Go ahead.        That's not my question.                 My
 20     question is:        Ma'am, will you testify here under
 21     oath, that you have known for -- since the eighties,
 22     at least, that AWP is not a truly discounted price;


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                                                                             Page 430
  1     and, therefore, does not reflect the cost to the
  2     physician or supplier furnishing the drug to the
  3     Medicare beneficiary -- you have known that for
  4     many, many years, haven't you?
  5                   MR. HENDERSON:          Objection.
  6                   MR. WALKER:         Objection.
  7          A.       I know the AWP is the average wholesale
  8     price.
  9                   I don't know what discounts physicians
 10     are given.
 11                   MR. MOORE:        Thank you for that, but I'm
 12     going to move to strike that as being
 13     non-responsive.
 14          Q.       Haven't you known for decades, that
 15     physicians and suppliers buy drugs for less than
 16     AWP?
 17                   MR. HENDERSON:          Objection.
 18          A.       No.
 19          Q.       Are you familiar with Albuterol reports,
 20     reports from the IG that came out on Albuterol in
 21     the mid-nineties that talked about the discounts off
 22     of AWP?


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